       Case 2:20-cv-01759-RDP          Document 14       Filed 10/05/21     Page 1 of 1              FILED
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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 LAUREN CHAMBERS,                               }
                                                }
        Plaintiff,                              }
                                                }
 v.                                             }    Case No.: 2:20-CV-1759-RDP
                                                }
 BBVA USA,                                      }
                                                }
        Defendant.                              }



                                  ORDER OF DISMISSAL

       In accordance with the parties’ Stipulation of Dismissal with Prejudice (Doc. # 12), filed

October 4, 2021, the court hereby ORDERS that this action shall be, and is, DISMISSED WITH

PREJUDICE. The parties are to bear their own costs, expenses, and attorney’s fees.

       DONE and ORDERED this October 5, 2021.



                                            _________________________________
                                            R. DAVID PROCTOR
                                            UNITED STATES DISTRICT JUDGE
